Case 3:16-cv-08277-DLR Document 24-8 Filed 10/18/17 Page 1 of 6

Exhibit 8

Federal Trade Commission (FTC) mail receipt 11-14-2016 Federal Trade
Commission (FTC) and Letter to Caliber Home Loans, Inc "Notice To Litigate"

NO. CV-16-08277-PCT-DLR

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FTC

FED EX Receipt Cover Sheet

REcElvEn PAcKAGE FRoM: Federal Trade Commission (FTC)

DATE: Nov. 14, 2016

TlN\E: 12:15 EST

WE|GHT: 11.1 lbs.

 

 

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7 MichaelBrosnahnn C_`onsumer/Cteditcr 7 , 7 . _ , ' ~ FTC CRQ
7 "November05,2016 ' " 7 - 7 . ,
- 21 Huinuiingbitd Citcie`
_ 7_S_ed_c_maA7z.~86336'
“Debt Col_lector”

' USPS CERTIFIED MAIL TRACKlNG #77016 0910 0000 7644 8483
Couriney Rlilz, Vice Piesident; Customer Support and Escalations
77 ~CslibctI-lomel.oans.,lnc.
’ '13801W`neless Way
, 1 Oklahoma City, OK 73134

Please respond to the below with specificity and particularity within five (5) calendar d3ys
' ' of receipt of this letter, as time is of the essence due to your negligent reckless bchavior.

' ne cic- 16.009419 1 cALiBEn HoME LoANs, ammann “l)¢s¢ collqu
7 Re. Aneged Amunr Numver. man 9804529314. Nor A vAlLD aunt
` * Aneged ram uaw sweme 23, 1016
' Uniqlte Real Property Address: 21 Huinmingbird Circlc, Sedona, Az 86336-7012

 

Notiggg Consamer" here by demands that Debt Coll`eetor, CALIBER HOME LOA;NS _and
r` imagesrm,ianmediaedy Cmeendmanymddi¥o!eeimxeae€ons. .

_ Dear “Debt Collectot Com'mey Rliiz, Vice President, Calib_er Home Loans, lnc. ., _

` -Thank you once again §)r admitting' m your communication datedOctober 21,2016 and Octobcr
7 27 2016 that youand your company C`aliberHomeLoans, Inc are, inno uncetlainterms, a
"debtcollector" pln'suant to 15 USC 1692 (FDCPA), and, as mhhave no standing to continne
' any action.- including foreclosure pursuardto § 1692 g(B) Ccllector must cease collection ctt'otis
b until debt' is validated and § 1692 b($) § 1692 d(l) § 1692 e(4)§1692 e(6) § 1692 e(9) § 1692
g(a)($) 1692f (6) Taking or threatening to take any non-judicial action to eEect disposeession or
disablement of property is not allowed under FDCPA, state law and others

7 As a debt collector, your actions lmra been and arc a violation of 15 USC 1692 and you are
` liable for each and evetyviolation. Pulsuant to the FDCPA and state and federal muslimer
' protecdonlaws, beadvmed thatl’, themnsumer, have the "right ofptivateaction" and can seek
protection and enforcement within an Artiole 111 color of competent jurisdiction Y_om‘ wanton
' violations of the FDCPA signify that yolz accept the full "Mcial Hazatd" of your continued
malicious and williiil ignorance and by your actions, you personally can no longer claim
"plaiislble deniability" of the intentional and irreparable harm created

~ Based on your admission (coniai`ned' m your communicatiou’ s disclos.ire statemem), all involved
‘ parties are jointly and severally liable, including butnot limited to all C_ALIBER HOME

, PagelofS

 

 

 

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` f usps conner ma mclane #7016 0910 0000 7644 3433

LOANS audits agents’, Ms. Collrmey7 Ruiz, Vice Presideut, and all other associated persons
' _ 7 disclosed by and through any and all signatures on all communications sent to the consumer in
77’ your attempt to steal his unique real property through anonjudicial foreclosure using false and
77forged docmncnts. 7

1A_samatterofrecordmdfacutheconsmner,actingmgood£anhrepeatedlyhashroughtto 7
your attention that there are numerous fabrications, misrepresentations and violations w addms7
m"Debt Collector" CALIBER HOME LOANS, audits agents', non-response commuuicudous.

As with your previous communications your most recent violates 15 USC § 1692 e(2)
' 77 Chamctet amolmt, orlegal Status ofthe alleged debt, 15 USC16920 § 805 andd£monslral$
7 " 7 _willfulconcealmeot;thlsisprofaneandobscenetome,dleconsumer,maccordancewith15
7'; USC1692d(2), dated October 21,2016 and Octobet 27, 2016 from your office viamail audio 7 ~ '
violation cf 15 USC 1692g7 (a) (b) Notice. CALIBER HOME LOANS and its agents are
' purposely obfuscating facts and avoided important issued Sending hearsay \msubstantiated
accounting of false and forged documentation ls a serious violation of the FDCPA. _

' In addition to the above facts audio violation of 15 USC 1692d §806, Debt Collector, C`aliber

77 Home Loans lnc. and its agents, have continuously trespassed, harassed and abused me, the
' consumer and are liable for each and every count Additionally, Debt Collector is in violation of
15 USC 1692e § 807, asithasmadeandcontinuestomakefalseandmisleadin representations
in its commmlicau'ons to me, the consumed without my “_consent” in accordance withi$ _USC
16920, and without being “authotlzed” and engaged in identity them

' 7 _ "Debt Collecto`r" CA`L£BER HOME LOANS and its agents refuse to or is lmablc to provide a '
' ` sufficient legal basis for its illegal invasion into my credit tile, erroneous credit reporting,
' misleading accounting dunning letters demanding payment Non ludicial Foreclosme and all
omar violations Exercising myright to private action lwill bring suit against you, personally,7
7 and your agency for violations of federal and state consumer protection laws. 'l`helefore, this
7 notice can be construed as a Notice of latent to hung such action, as your non-response does not
support a legal debt -“owed” to your agency.

7 rpethollecuor,Calibel-Homelloanslnc anditsagents,tln‘eatentheconslnnerii`lan attemp¢t° 7
imlawfullytskepossessionof(le “steal)UmqueRcalPropettyfromme,fh¢consmner Byfihng_- 77 .

ou August 24, 2016 false and/or forged documents m a public of§ce to establish legal ownership 7 7
and clouding the 7title; this is a clear violation ofArlzona A`.R._S_. § 39-1 61, and other laws, which 7 `
prohibits any unlawful proceeding against the consumer to garner the false presumption that .

7 7Debt Collector has standing to foreclose

At all relevant huies,7 ”Debt Collectot” CALIBER llOME LOANS and its agents commin the
aots,oausedotdirectedothelstcccmmittheacls,orpermittedotherstocommittheaois
allegedin thismattet. Any allegations about the acts cfthe Coiporatlons mem that those * " ' `
` - acts were oommmdthrough their ochecs, directors, employees, agents, amd/or 7
' representatives while those individuals were acting within the actual or implied scope of their
. .vvthvrio' 7 7 . 7 _

Pag€ 2 old 7

j"Case 3:16-6\/-06277- Dt_R Documem 24- 6 Filed 1_0/13/17 Page 6 6f 6 '
d ' 7 usesc€armsnmmtmctaue#70160910000076448483 7 7 `

Sh`ould you continue to choose and pursue your unlawfdl Fcreelos_ure, trespass, harassmem,
threats identitythen and other actions pursuant to your admission you are doing so with full
' knowledge and undesstanding and FOR ‘I_HBRECORD, accept ali associated iiabilities

penalties fees fines and punitive damages ete.

i\_l_o§ee: This doctm_tent rs not intended to threaten harass binder or obstruct any law)‘iil . . 7,
operations _It is for the purposes of obtaining lawful remedy as is provided by Iaw. Notice to
agent is notice to principd and notice to principal is notice to agent ` `

,`7_"Ihankyoumadvanceforyourpromptattennonmiespcndmgandresolvmgthrsmatterma
-timelymannaasrequiredbylaw z ~'~

 
 
 

Sinoerely aqui 7
BY: `

 

wheel 5 Brosnahan, Consumer/Creditor t

Copy to: 7 7
USPS CERTIFIED MAIL TRACKING # 7016 0910 0000 7644 8469
v Re: CIC 16-009479._ l CALIBER HOME LOANS, "Debt Collector”
, Arizona Attomey General Mark Bmovieh
~ -' Civil litigation Division 7 r *

' Consumer Prowction and Advocaey Ofliee Section _

Tucson Ofiiee 7
` 400 West Coogress `

Soitth Bnii'ding, Su.ite 315

Tueson, AZ §§7’791-1367

lCopy to: `
USPS CER'I'IF!BD MAIL TRACKING #7016 0910 0000 7644 8476
Consumer Response Center
' Federal Trade Commission
600 Pennsylvani_a Avetme, NW 7
` Washinawn. D`-<l 20580 ` ~ '

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